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                                                                   November 4, 2020


      VIA E-MAIL

      The Honorable Richard M. Berman
      United States District Judge
      Southern District of New York
      Daniel Patrick Moynihan U.S. Courthouse
      500 Pearl Street
      New York, NY 10007-1312

                     Re: United States v. James Moore, No. 18 Cr. 759 (RMB)

      Dear Judge Berman:

              We are counsel to James Moore in the above-captioned case. We write to request an
      adjournment of tomorrow’s scheduled status conference because, contrary to the expectations
      of the parties, Mr. Moore has not yet been transported by the Marshals to the metropolitan
      area, and remains at FMC Butner in North Carolina. I have consulted with AUSA Martin
      Bell, and with Ms. Tabolt, Your Honor’s Judicial Assistant, and the parties have agreed to
      propose December 1 at 9:00 a.m. as an adjourned date. If Mr. Moore is transported in the
      near term, and an earlier conference date would be feasible, the parties would contact the
      Court to explore accelerating the conference.

             We thank the Court for its attention to this request and are available to answer any
      questions.

Application granted.                                 Respectfully submitted,


                                                     /s/ Michael J. Grudberg


                                                     Michael J. Grudberg


      cc:   AUSA’s Vladislav Vainberg, Martin
    11/5/2020
